        Case 1:21-cv-02059-MLB Document 1 Filed 05/14/21 Page 1 of 10




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

FORREST JACKSON,
individually, and on behalf of others
similarly situated,
                                                   Civil Action File No.:
      Plaintiffs,
                                               _________________________
v.
                                               JURY TRIAL DEMANDED
OTR CAPITAL, LLC, and FRITZ
OWENS

      Defendants.

                    COLLECTIVE ACTION COMPLAINT


      Named Plaintiff Forrest Jackson (“Named Plaintiff”), individually and on

behalf of others similarly situated, files this Complaint against Defendants OTR

Capital, LLC and Fritz Owens (“Defendants”), and alleges as follows:

                          NATURE OF THE ACTION

      1.     This is a collective action for unpaid overtime wages brought pursuant

to the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”).

      2.     In this collective action, Named Plaintiff alleges that Defendants

willfully violated the FLSA by failing to pay Named Plaintiff and other similarly

situated employees 1.5 times their regular hourly rate of pay for all hours worked
        Case 1:21-cv-02059-MLB Document 1 Filed 05/14/21 Page 2 of 10




over 40 per workweek.

      3.     The proposed class that Named Plaintiff seeks to represent, and on

behalf of whom Named Plaintiff files this collective action, consists of all

individuals employed by Defendants as “Business Development Representatives” at

any of Defendants’ locations within three years preceding the filing of this

Complaint (Named Plaintiff and all persons who consent to join this action are

referred to collectively as “Plaintiffs”).

                                    THE PARTIES

      4.     Defendant OTR Capital, LLC (“OTR Capital” or “Defendant”) is a

Georgia limited liability company with its principal place of business located at 1000

Holcomb Woods Parkway, Building 300, Suite 315-A, Roswell, Georgia 30076.

      5.     OTR Capital may be served with process through its registered agent,

CT Corporation System, at 289 S. Culver Street, Lawrenceville, Georgia 30046.

      6.     Defendant Fritz Owens is the CEO and Co-Founder of Defendant OTR

Capital and may be served wherever he may be found.

      7.     Named Plaintiff Forrest Jackson worked for Defendants as a Business

Development Representative within the three years preceding the filing of this

Complaint.

      8.     Other Business Development Representatives, who are similarly


                                             -2-
        Case 1:21-cv-02059-MLB Document 1 Filed 05/14/21 Page 3 of 10




situated to Named Plaintiff, are interested in joining this collective action.

      9.     For example, Kahlil Payton filed a consent form to join this action. See

Exhibit 1.

                          JURISDICTION AND VENUE

      10.    Under 28 U.S.C. § 1331 this Court has jurisdiction over Plaintiffs’

claims because the claims raise questions of federal law.

      11.    Under 28 U.S.C. § 1391(b) and Local Rule 3.1(B) venue is proper in

this division because at least one defendant resides in this division and a substantial

part of the events or omissions giving rise to the claims occurred in this division.

      12.    OTR Capital is subject to personal jurisdiction in this Court because it

is a Georgia limited liability company with its principal office address located in

Georgia and conducts substantial business in Georgia.

      13.    Defendant Fritz Owens is subject to personal jurisdiction in this Court

because he is a resident of Georgia who lives in this judicial district.

                 OTR CAPITAL IS COVERED BY THE FLSA

      14.    OTR Capital is an enterprise engaged in commerce or the production

of goods for commerce.

      15.    OTR Capital employs two or more individuals who engage in

commerce, the production of goods for commerce or who handle, sell, or work with



                                         -3-
         Case 1:21-cv-02059-MLB Document 1 Filed 05/14/21 Page 4 of 10




goods or materials that have moved in or were produced for commerce.

       16.    OTR Capital employs two or more individuals who regularly

communicate across state lines using the interstate mail and telephone while

performing their job duties.

       17.    OTR Capital employs two or more individuals who regularly

communicate across state lines using the internet while performing their job duties.

       18.    OTR Capital’s employees handle and use materials that have traveled

through interstate commerce, such as computers, telephones, and fax machines while

performing their job duties.

       19.    OTR Capital employs two or more individuals who process credit card

transactions while performing their job duties.

       20.    OTR Capital’s gross annual sales and business done for each of the

three years preceding the filing of this Complaint exceeds $500,000.

                  DEFENDANTS EMPLOY THE PLAINTIFFS

       21.    OTR Capital employs the Plaintiffs within the meaning of the FLSA.

       22.    OTR Capital has the authority to hire and fire the Plaintiffs.

       23.    OTR Capital determines the employment policies applicable to

Plaintiffs.

       24.    OTR Capital has the authority to modify the employment policies


                                         -4-
           Case 1:21-cv-02059-MLB Document 1 Filed 05/14/21 Page 5 of 10




applicable to Plaintiffs.

          25.   OTR Capital determines how much, and in what manner, Plaintiffs are

compensated.

          26.   OTR Capital maintains the employment records, such as time and pay

records, for Plaintiffs.

          27.   Defendant Fritz Owens also employs the Plaintiffs.

          28.   For example, Fritz Owens has the authority to hire and fire the

Plaintiffs.

          29.   Fritz Owens determines the employment policies applicable to

Plaintiffs and has the authority to modify the employment policies applicable to

Plaintiffs.

          30.   Fritz Owens determines how much, and in what manner, Plaintiffs are

compensated.

            FACTUAL ALLEGATIONS CONCERNING PLAINTIFFS’
                   COMPENSATION AND JOB DUTIES

          31.   Defendant OTR Capital is a factoring company that purchases invoices

from other companies at a discount and then collects on those invoices to make a

profit.

          32.   Defendants employ the Plaintiffs as “Business Development

Representatives.”

                                          -5-
        Case 1:21-cv-02059-MLB Document 1 Filed 05/14/21 Page 6 of 10




      33.    As Business Development Representatives, Plaintiffs explain and sell

Defendants’ factoring services and benefits to customers, make daily calls to carriers

to create new leads and follow up on potential new business, work with dispatchers,

compliance agencies, insurance companies, and other industry partners to foster

inbound referral sources and build networks, and manage the account set up and

onboarding process for new clients, among other job duties.

      34.    Plaintiffs frequently work more than 40 hours per workweek.

      35.    For example, Named Plaintiff Forrest Jackson worked approximately

60 hours per week.

      36.    Defendants do not pay Plaintiffs 1.5 times their regular hourly rate for

all hours worked over 40 per workweek.

      37.    Instead, Defendants classify Plaintiffs as exempt from the FLSA’s

overtime requirements and pay Plaintiffs a salary.

      38.    For example, Defendants paid Named Plaintiff a salary of

approximately $40,000 per year.

      39.    In addition to their salary, Defendants pay Plaintiffs non-discretionary

bonuses based on a percentage of the factoring services sold by Plaintiffs.

      40.    Despite classifying Plaintiffs as exempt from the FLSA’s overtime

requirements, Plaintiffs are non-exempt employees, entitled to 1.5 times their regular


                                        -6-
        Case 1:21-cv-02059-MLB Document 1 Filed 05/14/21 Page 7 of 10




hourly rate for all hours worked over 40 per workweek.

      41.    For example, Plaintiffs do not manage Defendants’ business operations

and do not manage a department or subdivision of Defendants’ business.

      42.    Plaintiffs do not direct or supervise the work of two or more of

Defendants’ employees.

      43.    Plaintiffs do not have the authority to hire, fire, or discipline

Defendants’ employees.

      44.    Plaintiffs do not exercise independent judgment or discretion over how

to perform their job duties.

      45.    Plaintiffs’ primary job duties are not related to the management or

general business operations of OTR Capital.

      46.    As non-exempt employees, Plaintiffs are entitled to receive 1.5 times

their regular hourly rate for all hours worked over 40 per workweek.

      47.    By failing to pay Plaintiffs 1.5 times their regular hourly rate for all

hours worked over 40 per workweek, Defendants violated the FLSA.

      48.    Defendants’ violation of the FLSA is willful.

      49.    Defendants knew, or should have known, that Plaintiffs are non-exempt

employees entitled to 1.5 times their regular hourly rate for all hours worked over

40 per workweek.


                                        -7-
        Case 1:21-cv-02059-MLB Document 1 Filed 05/14/21 Page 8 of 10




      50.    Defendants either consulted the FLSA and its governing regulations

and intentionally misclassified Plaintiffs or failed to consult the FLSA thereby

showing a reckless indifference to Plaintiffs’ rights under the FLSA.

      51.    Accordingly, Plaintiffs are entitled to their unpaid overtime wages, an

equal amount in liquidated damages, and their attorney’s fees and costs of litigation.

       COUNT 1: WILLFUL FAILURE TO PAY OVERTIME WAGES

      52.    OTR      Capital   employs     Plaintiffs   as   Business   Development

Representatives.

      53.    OTR Capital classifies Plaintiffs as exempt from the FLSA’s overtime

requirements and does not pay Plaintiffs 1.5 times their regular hourly rate for all

hours worked over 40 per workweek.

      54.    Plaintiffs are non-exempt employees entitled to 1.5 times their regular

hourly rate for all hours worked over 40 per workweek.

      55.    By failing to pay Plaintiffs 1.5 times their regular hourly rate for all

hours worked over 40 per workweek, OTR Capital willfully violated the FLSA.

      56.    Due to OTR Capital’s willful violation of the FLSA, Plaintiffs are

entitled to their unpaid overtime wages, an equal amount in liquidated damages, and

their attorney’s fees and costs of litigation.




                                          -8-
           Case 1:21-cv-02059-MLB Document 1 Filed 05/14/21 Page 9 of 10




                            DEMAND FOR JUDGMENT

      Plaintiffs respectfully request that the Court:

      I.       Conditionally certify this case as a collective action under 29 U.S.C.

§ 216(b) and approve the issuance of a notice of this lawsuit to similarly situated

collective action class members informing them of their right to join this action;

      II.      Declare that Defendants’ actions, policies, and practices violated, and

continue to violate, the rights of Named Plaintiff and others similarly situated under

the FLSA;

      III.     Declare that Defendants’ violation of the FLSA is willful;

      IV.      Award Named Plaintiff and others similarly situated all unpaid wages

for a period of three years;

      V.       Award Named Plaintiff and others similarly situated liquidated

damages in an amount equal to their unpaid wages;

      VI.      Award Named Plaintiff and others similarly situated their reasonable

attorneys’ fees, costs, and expenses; and

      VII. Award all other relief to which Named Plaintiff and others similarly

situated may be entitled.




                                         -9-
        Case 1:21-cv-02059-MLB Document 1 Filed 05/14/21 Page 10 of 10




                        DEMAND FOR TRIAL BY JURY

      Named Plaintiff, on behalf of himself and others similarly situated, requests a

trial by jury pursuant to Fed. R. Civ. P. 38.


      Filed: May 14, 2021.



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                                         - 10 -
